                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                             DOCKET NO. 3:95-cr-00178-4-MOC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                      ORDER
                                               )
JOHNNY STACEY,                                 )
                                               )
                 Defendant.                    )



       THIS MATTER is before the court on defendant’s Motion for Early Termination of

Supervised Release. The court also has before it the Response of the government, which reflects

that defendant has done extremely well under supervision and is an excellent candidate for such

relief. Further, defendant’s supervising officer reports “positivity and initiative” by defendant

while on release, securing a job, compliance with all conditions of supervision, and taking care

of his gravely ill wife.      Defendant is commended on turning his life around and being a

productive and responsible member of his community. Having considered defendant’s motion

and reviewed the pleadings, the court enters the following Order.

                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Early Termination of

Supervised Release (#590) is GRANTED, and supervision is terminated early as successful




             Signed: July 22, 2013




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